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                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                        LUFKIN DIVISION

UNITED STATES OF AMERICA                                   §
                                                           §
v.                                                         §     CASE NO. 9:14-CR-13(2)
                                                           §
FREDERICK L. MITCHELL                                      §

       FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
            BEFORE THE UNITED STATES MAGISTRATE JUDGE

           By order of the District Court, this matter was referred to the undersigned United

States Magistrate Judge for administration of a guilty plea and allocution under Rules 11

and 32 of the Federal Rules of Criminal Procedure. Magistrate judges have the statutory

authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002),

cert. denied, 123 S. Ct. 1642 (2003). On January 7, 2015, this cause came before the

undersigned United States Magistrate Judge for entry of a guilty plea by the defendant,

Frederick Mitchell, on Count One and Count Two of the charging Information1 filed in



           1
            The defendant executed a Waiver of Indictment which was filed in the record of this case at the guilty plea
hearing.

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this cause.

       Count One of the Information charges that from on or about October of 2012, the

exact date being unknown to the Grand Jury, and continuing thereafter until July 22,

2014, in the Eastern District of Texas and elsewhere, Frederick Mitchell, defendant,

knowingly and intentionally conspired and agreed together with other persons known and

unknown, to distribute and to possess with the intent to distribute a Schedule II controlled

substance, namely, a mixture or substance containing a detectable amount of cocaine, all

in violation of 21 U.S.C. § 846.

       Count Two of the Information alleges that on or about July 6, 2014, in the Eastern

District of Texas and elsewhere, Frederick Mitchell, defendant, traveled in interstate

commerce from the State of Wisconsin to the State of Texas, with the intent to promote,

manage, establish, carry on, and facilitate the promotion, management, establishment and

carrying on of an unlawful activity, that is, a conspiracy to possess with the intent to

distribute a mixture or substance containing a detectable amount of cocaine, and

thereafter performed and attempted to perform an act to promote, manage, establish, and

carry on, and to facilitate the promotion, management, establishment, and carrying on of

such unlawful activity, that is, the transportation of approximately $253,341 in U.S.

Currency, in violation of 18 U.S.C. §§ 1952(a)(3) and 2.

       Defendant, Frederick Mitchell, entered a plea of guilty to Count One and Count

Two of the Information into the record at the hearing.

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       After conducting the proceeding in the form and manner prescribed by Federal

Rule of Criminal Procedure 11 the Court finds:

       a. That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United

States Magistrate Judge in the Eastern District of Texas subject to a final approval and

imposition of sentence by the District Court.

       b. That Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal.

       c. That Defendant is fully competent and capable of entering an informed plea,

that Defendant is aware of the nature of the charges and the consequences of the plea, and

that the plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the

Defendant personally in open court, the Court determines that Defendant’s plea is

voluntary and did not result from force, threats or promises. See FED. R. CRIM. P.

11(b)(2).

       d. That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offenses and

Defendant realizes that his conduct falls within the definition of the crimes charged under

21 U.S.C. § 846 and 18 U.S.C. §§ 1952(a)(3) and 2.

                              STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual

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basis. See Factual Basis and Stipulation. In support, the Government and Defendant

stipulated that if this case were to proceed to trial the Government would prove beyond a

reasonable doubt, through the sworn testimony of witnesses, including expert witnesses, as

well as through admissible exhibits, each and every essential element of the crimes

charged in Count One and Count Two of the Information. The Government would also

prove that the defendant is one and the same person charged in the Information and that

the events described in the Information occurred in the Eastern District of Texas and

elsewhere. The Court incorporates the proffer of evidence described in detail in the factual

basis and stipulation in support of the guilty plea.

       Defendant, Frederick Mitchell, agreed with and stipulated to the evidence presented

in the factual basis. Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with

the evidence presented by the Government and personally testified that he was entering his

guilty plea knowingly, freely and voluntarily.

                            RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States

Magistrate Judge that the District Court accept the Guilty Plea of Defendant which the

undersigned determines to be supported by an independent factual basis establishing each

of the essential elements of the offenses charged in Count One and Count Two of the

charging Information on file in this criminal proceeding. The Court also recommends

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that the District Court accept the plea agreement pursuant to Federal Rule of Criminal

Procedure 11(c). Accordingly, it is further recommended that, Defendant, Frederick

Mitchell, be finally adjudged as guilty of the charged offenses under Title 21, United

States Code, Section 846 and Title 18, United States Code, Sections 1952(a)(3) and 2.

       Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report.     At the plea hearing, the Court admonished the

Defendant that the District Court may reject the plea and that the District Court can

decline to sentence Defendant in accordance with the plea agreement, the federal

sentencing guidelines and/or the presentence report because the sentencing guidelines are

advisory in nature. The District Court may defer its decision to accept or reject the plea

agreement until there has been an opportunity to consider the presentence report. See FED.

R. CRIM. P. 11(c)(3). If the Court rejects the plea agreement, the Court will advise

Defendant in open court that it is not bound by the plea agreement and Defendant may

have the opportunity to withdraw the guilty plea, dependent upon the type of the plea

agreement. See FED. R. CRIM. P. 11(c)(3)(B). If the plea agreement is rejected and

Defendant still persists in the guilty plea, the disposition of the case may be less favorable

to Defendant than that contemplated by the plea agreement. Defendant has the right to

allocute before the District Court before imposition of sentence.

                                      OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within

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fourteen (14) days after being served with a copy of this report.          See 28 U.S.C. §

636(b)(1). A party’s failure to object bars that party from: (1) entitlement to de novo

review by a district judge of proposed findings and recommendations, see Rodriguez v.

Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds

of plain error of unobjected-to factual findings and legal conclusions accepted by the
                                                                                  th
.district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5 Cir.

1996) (en banc). The constitutional safeguards afforded by Congress and the courts

require that, when a party takes advantage of his right to object to a magistrate’s findings

or recommendation, a district judge must exercise its nondelegable authority by

considering the actual evidence and not merely by reviewing and blindly adopting the

magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th

Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                SIGNED this the 9th day of January, 2015.




                                                  ____________________________________
                                                  KEITH F. GIBLIN
                                                  UNITED STATES MAGISTRATE JUDGE




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